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                                                                           BY may        DEPUTY CLERK
6
7    Attorneys for Debtor and Debtor-in-Possession
     RedRhino: The Epoxy Flooring Company Inc.
8
9                              UNITED STATES BANKRUPTCY COURT
10
                                 CENTRAL DISTRICT OF CALIFORNIA
11
                                        LOS ANGELES DIVISION
12
                                                     )   CASE NO.: 2:20-bk-20257-SK
13   In re:                                          )
                                                     )   Chapter 11
14                                                   )
                                                     )   ORDER GRANTING MOTION TO
15   REDRHINO: THE EPOXY FLOORING                    )   CONFIRM DEBTOR’S SUBCHAPTER V
                                                     )   CHAPTER 11 PLAN OF
16   COMPANY, INC.,                                  )   REORGANIZATION
                                                     )
17                                                   )   Plan Confirmation Hearing:
                                                     )
18                   Debtor-in-Possession.           )   Date:        June 23, 2021
                                                     )   Time:       9:00 a.m.
19                                                   )   Courtroom: 1575 [via ZoomGov]
                                                     )   255 East Temple Street
20                                                   )   Los Angeles, CA 90012
                                                     )
21
22
              The hearing on confirmation of the Subchapter V Chapter 11 Plan of Reorganization filed
23
24   on March 31, 2021 as Docket No.: 49 (hereinafter the “Plan”) by the Debtor and Debtor-in-

25   Possession, REDRHINO: THE EPOXY FLOORING COMPANY, INC. (hereinafter the
26   “Debtor”), came on regularly for hearing on June 23, 2021 at 9:00 a.m., before the Honorable
27
     Sandra R. Klein, United States Bankruptcy Judge.
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            Appearances were stated on the record.
1
2           Upon consideration of the Debtor’s Plan [docket no.: 49], the Motion to Confirm

3    Debtor’s Plan [docket no.: 74, as amended by docket no.: 78], the Summary of Ballots [docket
4
     no.: 75], the evidence submitted in connection therewith, the record in the Debtor’s Chapter 11
5
     case, the arguments and representations of Debtor’s Counsel, and good cause appearing therefor,
6
7    the Court finds:

8       1. That the requirements for confirmation set forth in 11 U.S.C. §1129 (a) and (b), where
9           applicable, have been satisfied;
10
        2. That the Plan complies with the applicable provisions of Title 11 (§1129(a)(1));
11
        3. That the Debtor, as proponent of the Plan, has complied with the applicable provisions of
12
13          Title 11 (§1129(a)(2));

14      4. That the Plan has been proposed in good faith and not by any means forbidden by law
15          (§1129(a)(3));
16
        5. The debtor has disclosed to the court any payment made for services rendered or for costs
17
            and expenses incurred in connection with the case or the plan and such payments have
18
19          been approved by, or are subject to the approval of, the court as reasonable (§1129(a)(4));

20      6. The debtor has disclosed the identity, affiliations and compensation of individuals
21
            proposed to serve as officers and directors of the debtor after confirmation and the
22
            continuances in such offices by such individuals is consistent with the interests of
23
24          creditors and equity security holders and with public policy (§1129(a)(5));

25      7. To the extent the debtor is subject to the jurisdiction of any regulatory commission, any
26          rate change provided in the plan has been approved by, or is subject to the approval of,
27
            such regulatory commission (§1129(a)(6));
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       8. Each holder of a claim or interest in an impaired class has either accepted the plan or will
1
2         receive or retain under the plan on account of such claim or interest, property of a value,

3         as of the effective date of the plan, that is not less than the amount that such holder would
4
          receive or retain if the debtor were liquidated under Chapter 7 (§1129(a)(7));
5
       9. Each class of claims or interests has either voted to accept the plan or is not impaired
6
7         under the plan (§ 1129(a)(8));

8      10. The treatment of administrative expenses and priority claims under the plan complies
9         with the provisions of §1129(a)(9);
10
       11. If a class of claims is impaired under the plan, at least one (1) impaired class of claims
11
          has accepted the plan, determined without including the acceptances of any insiders
12
13        holding claims in such class (§1129(a)(10));

14     12. Confirmation of the plan is not likely to be followed by the liquidation or the need for
15        further financial reorganization of the debtor (§1129(a)(11));
16
       13. The plan provides for payment on the effective date of all fees payable under 28 U.S.C.
17
          §1930 (§1129(a)(12));
18
19     14. That with respect to Class 2(B) and Class 3, which did not submit any ballots and are

20        therefore deemed to have rejected the Plan, the requirements of §1191(b) are satisfied;
21
          IT IS ORDERED THAT:
22
       1. The Plan filed by the Debtor is hereby confirmed and approved by this Court;
23
24     2. Debtor is eligible for a discharge when the plan is completed;

25     3. The Court will retain jurisdiction over this bankruptcy case until a Final Decree is entered
26        by the Court;
27
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       4. The requirement pursuant to Federal Rules of Bankruptcy Procedure 3020(e) that the
1
2         order confirming the Plan be stayed until the expiration of 14 days after the entry of the

3         order is waived;
4
       5. Upon the substantial consummation of the Plan, the Debtor shall file an Application for a
5
          Final Decree as required by Federal Rule of Bankruptcy Procedure 3022;
6
7      6. The Effective Date, as defined in the Plan, shall be the first business day that is fourteen

8         (14) calendar days after the entry of the order confirming the Plan, with payments
9         beginning by the first day of the following month.
10
       7. Costs owed by the Debtor to the Court Clerk, if any, shall be paid forthwith if not already
11
          paid;
12
13     8. A Post-Confirmation Status Conference re Chapter 11 Plan will take place on December

14        15, 2021 at 9:00 a.m.; and
15     9. The Debtors must file a Post Confirmation Status Report no later than December 1, 2021
16
          explaining what progress has been made toward consummation of the confirmed Plan of
17
          Reorganization. The Post Confirmation Status Report must be served on the Court, the
18
19        United States Trustee, the twenty (20) largest unsecured creditors, and those parties who

20        have requested special notice. The Post Confirmation Status Report shall include a
21
          declaration from the Debtors and shall contain at least the following information:
22
          a)      A schedule listing for each debt and each class of claims; the total amount
23
24        required to be paid under the Plan; the amount required to be paid as of the date of the

25        Post Confirmation Status Report; the amount actually paid as of the date of the Post
26        Confirmation Status Report; and the deficiency, if any, in required payments;
27
28


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          b)      A schedule of any and all post confirmation tax liabilities that have accrued or
1
2         came due, and a detailed explanation of payments thereon;

3         c)      An estimate of the date for Plan consummation and application for Final Decree;
4
          and
5
          d)      Any other pertinent information needed to explain the progress toward completion
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7         of the confirmed Plan.

8
9    IT IS SO ORDERED.
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24       Date: June 29, 2021

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                                       ORDER CONFIRMING PLAN
